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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

   IN RE:                                            :   CHAPTER 7
                                                     :
   TERRENCE GRIFFIN and                              :   CASE NO. 22-56997-BEM
   KIMBERLY GRIFFIN,                                 :
                                                     :
            Debtors.                                 :

                                      REPORT OF SALE
            COMES NOW S. Gregory Hays, the Chapter 7 Trustee in the above-captioned

   matter, and files this Report of Sale pursuant to Bankruptcy Rule 6004(f), and shows the

   Court as follows:

                                                1.

            On August 17, 2023, the Trustee sold real property of the estate known as 1895

   Milfield Circle, Snellville, GA 30078 (“Property”) to David Rausch and Jeanette Rausch

   (“Purchasers”) for $450,000.00 as ordered and approved by the Court on August 4 2023

   [Doc. No. 42].

                                                2.

            Attached hereto as Exhibit “A” is the Seller’s Settlement Statement from the sale.

   The Trustee reports that he has completed the delivery of the Property to the Purchasers

   and has received net funds of $116,051.11 from the sale.

            Respectfully submitted this 17th day of August, 2023.

                                                          /s/ S. Gregory Hays
    Hays Financial Consulting, LLC                       S. Gregory Hays
   2964 Peachtree Road, N.W., Suite 555                  Chapter 7 Trustee
   Atlanta, Georgia 30305
   (404) 926-0060
   ghays@haysconsulting.net
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                                  Exhibit “A”
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                                CERTIFICATE OF SERVICE

          I, S. Gregory Hays, certify that I am over the age of 18 and that on this date, I
   served a copy of the foregoing Report of Sale by first class U.S. Mail, with adequate
   postage prepaid on the following persons or entities at the addresses stated and upon all
   the following persona or entities at the addresses stated:

        Office of the United States Trustee
        362 Richard B. Russell Building
        75 Ted Turner Drive, SW
        Atlanta, GA 30303

        William A. Rountree
        Rountree Leitman Klein & Geer, LLC
        Century Plaza I, Suite 350
        2987 Clairmont Road
        Atlanta, GA 30329

        Terrence Griffin
        1895 Milfield Circle
        Snellville, GA 30078

        Kimberly Griffin
        1895 Milfield Circle
        Snellville, GA 30078


          This 17th day of August, 2023.

                                                          /s S. Gregory Hays
                                                         S. Gregory Hays
                                                         Chapter 7 Trustee

   Hays Financial Consulting, LLC
   2964 Peachtree Road, NW, Ste 555
   Atlanta, Georgia 30305
   (404) 926-0060
